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                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI’I


   UNITED STATES OF                    CR. NO. 17-00101 JEK
   AMERICA,
                                       MOTION TO RECONSIDER
          Plaintiff,                   11/26/18 EO DENYING:
                                       DEFENDANT’S MOTION TO
         v.                            SEVER TRIAL (Docket #365);
                                       DEFENDANT’S MOTION FOR
                                       ORDER OF CONTEMPT
   ANTHONY T. WILLIAMS,                AGAINST THE ILLINOIS
                                       ANTI-PREDATORY LENDING
          Defendant.                   DATABASE (Docket #349);
                                       DEFENDANT’S MOTION FOR
                                       ORDER OF CONTEMPT
                                       AGAINST THE ORANGE
                                       COUNTY (CA) DISTRICT
                                       ATTORNEY’S OFFICE (Docket
                                       #357); DEFENDANT’S
                                       MOTION FOR ORDER OF
                                       CONTEMPT AGAINST THE
                                       BROWARD COUNTY (FL)
                                       SHERIFF’S OFFICE (Docket
                                       #361); DECLARATION OF
                                       COUNSEL; EXHIBIT “A;”
                                       CERTIFICATE OF SERVICE
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                       MOTION TO RECONSIDER

   Comes now, the Defendant Anthony T. Williams, by and through

   his standby counsel, Lars Robert Isaacson, Esq., and hereby

   moves this court to reconsider this Court’s 11/26/18 EO (Docket

   #392) denying:

      1. [Docket #365] Motion to Sever Defendant as to Anthony T.

         Williams, Anabel Cabebe, Barbara Williams.

      2. [Docket #349] Motion for Order Of Contempt Against The

         Illinois Anti-Predatory Lending Database,

      3. [Docket #357] Motion For Order Of Contempt Against The

         Orange County (CA) District Attorney's Office and

      4. [Docket #361] Motion For Order Of Contempt Against the

         Broward County (FL) Sheriff's Office.

   This motion is based on the declaration of counsel and Exhibit “A”

   attached to this document.

      Dated: December 10, 2018

                                      /s/ Lars Isaacson
                                 LARS ROBERT ISAACSON
                                 Standby Attorney for
                                 Defendant Anthony T. Williams
